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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN


FRANCES FORD,                                     Case No. 16-12612

            Plaintiff,                          Hon. Terrence G. Berg


v.

MIDLAND FUNDING LLC;
MIDLAND CREDIT
MANAGEMENT INC., ENCORE
CAPITAL GROUP INC., & LAW
OFFICE OF MICHAEL R.
STILLMAN, PC, d/b/a THE
STILLMAN LAW OFFICE

            Defendants.

             PLAINTIFF’S RESPONSE IN OPPOSITION TO
          DEFENDANTS’ MOTION TO COMPEL ARBITRATION


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                   STATEMENT OF ISSUES PRESENTED

       1.    Should Defendants’ motion to compel arbitration be denied when

Defendants have not produced documentary evidence that an arbitration agreement

exists for the “Original Account Number          488893018926028”, “Charge Off

Account Number      4888931990159852”; and have instead submitted documents

related to an Account Number for billing statements produced by Defendants in

this case related to account “4305 5003 5345 4674”?

       2.    Should Defendants’ motion to compel arbitration be denied wherein

Stillman, from its file of documents provided to it from its client, Midland

Funding, LLC, show an assignment on June 24, 2008, FIA Card Services, N.A., to

Cavalry SPV 1, LLC, and there is no documentary evidence that Cavalry SPV 1,

LLC, sold or transferred the account back to FIA Card Services, N.A., prior to the

September 18, 2008, sale from FIA Card Services, N.A., to Midland Funding,

LLC.

       3.    Should Defendants’ motion to compel arbitration be denied wherein

Defendants litigated the issue in state court whether the debt was time barred?

       4.    Should Defendants’ motion to compel arbitration be denied wherein

Midland Funding did not commence its claim on a breach of contract until after the

statute of limitations had run on the debt referenced in its documents?

       5.    If arbitration is compelled, should this matter be stayed, not



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dismissed, under the FAA § 3?

      6.     If arbitration is compelled, should the issue of whether the claims of

the class members must be dismissed be submitted to the arbitrator?

           CONTROLLING OR MOST APPROPRIATE AUTHORITY

Bazemore v. Jefferson Capital Sys., LLC., 827 F.3d 1325 (11th Cir. 2016);

Buckley v. Small, 52 Mich. App. 454; 217 N.W.2d 422 (Mich. App. 1974);

Cincinnati Gas & Elec. Co. v. Benjamin F. Shaw Co., 706 F.2d 155, 159 (6th Cir.

1983);

Harris v. Am. Postal Workers Union, 198 F.3d 245 (6th Cir. 1999);

In re: Cognate Cases, 1:13-CV-1338,1:14-CV-34,1:14-CV-234, 2014 U.S. Dist.

LEXIS 89159 (W.D. Mich. June 30, 2014); Johnson Assocs. Corp. v. HL

Operating Corp., 680 F.3d 713 (6th Cir. 2012); Prima Point Corp. v. Flood &

Conklin Mfg. Co., 388 U.S. 395, 404, 87 S. Ct. 1801 (1967); 9 U.S.C. § 3

                                INTRODUCTION

      Defendants Midland Funding LLC, Midland Credit Management, Encore

Capital Group, (collectively the “Midland Defendants”), though their attorney, the

Law Office of Michael R. Stillman, P.C., (“Stillman”) collectively (“Defendants”),

knowingly violated the United States Government’s September 9, 2015 injunction

prohibiting the Midland Defendants from filing suit on a time barred debt when

they filed a time barred collection action against the Plaintiff, Ms. Frances Ford



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(“Ford”), and many others similarly situated. To sidestep class wide culpability,

Defendants seek to remove this matter to the modern day Star Chamber on an

individual basis and so continue its scheme of obtaining judgements on time barred

debt on a massive scale. Because, Defendants have not proven an enforceable

arbitration agreement exists, or that such an agreement was sent to Plaintiff, and

that Defendants waived any right to arbitration litigating the same issue whether

the subject debt was time barred, Defendants are not entitled to compel arbitration.

             PLAINITFF’S STATEMENT OF MATERIAL FACTS

      1.     Defendants “Midland, MCM . . . are wholly-owned subsidiaries of

Encore Capital and share common officers and directors with Encore Capital.

Midland and MCM operate in concert with one another, and under the direct

supervision and control of Encore Capital, to purchase and collect Consumer Debt

on a massive scale.” In the Matter of: Encore Capital Group, Inc., Midland

Funding, LLC, Midland Credit Management, Inc., et al., 2015-CFPB-0022, Doc. 1,

Consent      Order,   p.    5     (CFPB        Sept.   9,    2015)       available    at

http://files.consumerfinance.gov/f/201509_cfpb_consent-order-encore-capital-

group.pdf.

      2.     Stillman filed a debt collection lawsuit against Plaintiff captioned

Midland Funding LLC Assignee of Bank of America v. Frances M. Ford, Case No.

C15C12670-GC, 67-3rd Judicial District Court, State of Michigan, (the “state court



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matter”). (Exhibit A).

          3.      A true and correct copy of the Complaint, including the attached

exhibits, in the state court matter is attached as (Exhibit A).

          4.      As part of an exhibit in the state court matter, a Visa or MasterCard

Agreement was attached that was in effect as of 1999. (Exhibit A, displaying a

1999 copyright date at Pg 10).

          5.      As to the Visa or MasterCard agreement that was in effect as of 1999,

filed in the state court matter and all documents regarding the debt those

documents are (per Nina Prashad’s testimony) “provided by our client, [Midland

Funding], and what’s in our system.” See (Exhibit B, Prashad Dep. Tr. 19:5-11).

          6.      Defendants would not produce Ms. Prashad, on Monday November

21, 2016, which is the date Defendants later claimed their discovery responses

were due. Instead, Ms. Prashad was produced on November 18, 2016 for her

deposition during which Defendants refused Plaintiff’s request to review

Stillman’s file on Ms. Ford’s account claiming they still had another day under

Rule 6 to respond to Plaintiff’s discovery requests served October 17. Defendants

failed to respond to Plaintiff’s emails the previous day requesting this discovery be

made available prior to the two depositions taking place on November 18, 2016.

(Exhibit C). See (Exhibit B Prahad Dep. Tr. Pgs 9-10:17).1


1   The Court may remember that during the September 19 telephonic conference that this precise behavior


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        7.      The Visa or MasterCard Agreement that was in effect as of 1999, and

attached to the state court complaint in support, was purposefully withheld by

Defendants from this Court for consideration.

        8.       The Visa or MasterCard Agreement that was in effect as of 1999,

attached to the state court complaint, requires that arbitration be submitted to the

American Arbitration Association (“AAA”). (Exhibit A at page 10).

        9.      Because of the Defendant Midland’s conduct, AAA refuses to

arbitrate claims involving Midland. (Exhibit D).

        10.     The Midland Defendants were asked to admit that Exhibit A, the

document attached to its state court complaint, (only part of which Defendants

provided to this court in support of its motion to compel arbitration), was a true

and correct copy of the contractual terms that governed the subject account in

December 2006 and; they responded by stating:

         “Midland can neither admit nor deny the request” further stating “it is
        Midland’s understanding, that Plaintiff was bound by the terms and
        conditions[.]” (Exhibit E).

        11.     Besides the 1999 agreement, it appears that the other document

attached is part of a 2008 cardholder agreement, to which Midland has not

produced any evidence that it was ever sent to Plaintiff.

        12.     Defendants have not produced any evidence showing that Bank of

was predicted by plaintiff’s counsel and the Court instructed the defendants to cooperate in discovery.



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America (BOA) sent any documents to Ms. Ford beyond December 2006. See (Pg

ID 184 ¶ 6; Pg ID 191).

      13.   Once a credit card account has been charged off, the credit card issuer

will cease sending statements and “remove the account from their financial records

and receive a bad debt tax deduction.” See McDonald v. Asset Acceptance, LLC

296 F.R.D. 513 (E.D. Mich. 2013) (citing I.R.C. § 166(a)(2)) opinion vacated by

2016 U.S. Dist. LEXIS 102182 (E.D. Mich. June 23, 2016).

      14.   In the state court matter it was alleged that Ms. Ford, “herein is

indebted upon open account or pursuant to contract, and defendant accepted the

same. (Original Account Number 488893018926028)”. (Exhibit A ¶ 1).

      15.   Midland has submitted to this Court as an exhibit that the account

related to Ms. Ford that they purchased is identified as “Original Account Number

488893018926028” and “Charge Off Account Number 4888931990159852”. (Pg

ID 189).

      16.   All of the billing statements produced by Defendants in this case

related to account “4305 5003 5345 4674”. E.g. (Pg ID 191).

      17.   During the deposition of Stillman’s attorney, Ms Prashad who signed

the state court complaint, over Plaintiff’s counsel’s objections of coaching the

witness, Stillman’s lawyer acknowledged that the account numbers were different.

(Exhibit B, Prashad Dep. Tr. 33:16 - 36:14.



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      18.    Although requested to produce all documents related to the subject

debt in the state court lawsuit, including the written “Account Sale Agreement”

referenced in the Bill of Sale governing the sales transaction between FIA and

Defendants, none of the Defendants, have produced any “account sale” purchase

agreement document. See (Exhibit F at ¶¶ 1-3).

      19.    At the time the state court lawsuit against Plaintiff was filed, the

Midland Defendants were permanently enjoined from suing on time barred debts.

In the Matter of: Encore Capital Group, Inc., Midland Funding, LLC, Midland

Credit Management, Inc., et al., 2015-CFPB-0022, Doc. 1, Consent Order, pp. 38-

39          (CFPB        Sept.           9,           2015)          available          at

http://files.consumerfinance.gov/f/201509_cfpb_consent-order-encore-capital-

group.pdf

      20.    When Stillman filed the state court lawsuit against Ms. Ford, it knew

about the US Government’s injunction against Midland suing on time barred debts.

See e.g. Hilton v. Midland Funding, LLC, Doc. 1, Complt., 2:15-cv-10322-LVP-

APP (E.D. Mich.)

      21.    In the state court matter, Ms. Ford filed Affirmative Defenses

including that, “Plaintiff’s [Midland’s] claims are barred by the Statute of

Limitations including but not limited [to] those prescribed in MCLA 445.901 et

seq, MCLA 257.1301 et seq., MCLA 492.114, 16 CFR 433.1” (Exhibit G - Ford’s



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verified answer to Midland’s state collection complaint.

      22.    Ms. Ford also signed an affidavit affirming that the debt Midland sued

her for was not legally enforceable and she had not made any payments for least 7

years prior to filing of the collection action against her. (Exhibit G).

      23.    Despite receipt of Ford’s evidence submitted under oath, Defendants

failed to immediately dismiss its libelous legal action and caused Ford to incur

additional expense of legal fees and costs in attending at least two more court

hearings and the time and cost of preparing for a trial.

      24.    Stillman has filed a document with this Court that purports to

demonstrate that on June 24, 2008, FIA Card Services, N.A., sold, transferred,

assigned, sets-over, quitclaimed and conveyed the subject debt to Cavalry SPV 1,

LLC, without recourse and without representations or warranties of any type, kind,

character or nature, express or implied, subject to the Buyer’s repurchase rights . . .

.” (Pg ID 128, Stillman Mtn. Arb., Ex. B, a copy which is attached as Exhibit H)

      25.    In regard to the debt Midland sued Plaintiff for in the state court

matter, Defendants have not produced in discovery any evidence that the subject

debt was transferred, sold or otherwise returned to FIA Card Services N.A., before

the September 18, 2008, Bill of Sale between FIA Card Services N.A. and Midland

Funding LLC.

      26.    The September 18, 2008, Bill of Sale between FIA Card Services



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N.A. and Midland Funding LLC does not identify an account number of a debt that

relates to Ms. Ford. (Pg ID 187).

      27.    On December 2, 2008, Defendant Midland Credit Management sent

Plaintiff a letter titled “PRE-LEGAL NOTIFICATION” stating in part, “If we

don’t hear from you or receive payment by 01-01-2009, we may proceed with

forwarding this account to an attorney.” (Exhibit I).

      28.    At the time Midland Funding, LLC sued Ford, more than six years

had elapsed since her use of or payment on the underlying debt.

                           STANDARD OF REVIEW

      In the Eastern District of Michigan, “[t]here is some disagreement about

whether a motion to compel arbitration is a dispositive motion[.]” Blankenship v.

Superior Controls, Inc., 13-12386, 2014 U.S. Dist. LEXIS 138796 * 2 n.1 (E.D.

Mich. Apr. 25, 2014). “The [Federal Arbitration Act (“FAA”)] does not expressly

identify the evidentiary standard a party seeking to avoid compelled arbitration

must meet. But courts that have addressed the question have analogized the

standard to that required of a party opposing summary judgment under Rule 56(e)

of the Federal Rules of Civil Procedure. Tinder v. Pinkerton Sec., 305 F.3d 728,

735 (7th Cir. 2002). The “opposing party must demonstrate that a genuine issue of

material fact . . . exists.” Id. “[T]he evidence of the non-movant is to be believed

and all justifiable inferences are to be drawn in his favor.” Id. “[I]f the motions



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record reveals a material issue of fact, the FAA maintains that the court move

summarily to trial.” Neb. Mach. Co. v. Cargotec Solutions, LLC, 762 F.3d 737,

743 (8th Cir. 2014).

                                  ARGUMENT

I.     Defendants have Not Established a Contractual Right to Compel
       Arbitration

       “The first question to be decided [under § 4 of the FAA] is whether 'the

making of the agreement for arbitration or the failure to comply therewith’ is an

issue.” Cincinnati Gas & Elec. Co. v. Benjamin F. Shaw Co., 706 F.2d 155, 159

(6th Cir. 1983). The Court must determine whether there is an agreement to

arbitrate a claim. Granite Rock Co. v. Int'l Bhd. of Teamsters, 561 U.S. 287, 299-

300 (2010).    “Midland and MCM have aggressively pursued many individual

citizens out of court for payment of bills they do not owe or that they have already

paid. This occurs in part because the debt they purchase is so old and because the

electronic files they acquire . . . lack substantiation and contain errors.” State of

Minnesota by its Attorney General, Lori Swanson v. Midland Funding, LLC and

Midland Credit Management Inc., 2011 WL 1909418, p. 3, (Minn. Dist. Ct.) (Trial

Pleading) (May 19, 2011) (emphasis added).

       In this matter regarding Ms. Ford, Midland has submitted to this Court as an

exhibit that the account related to Ms. Ford that they purchased is identified as

“Original Account Number          488893018926028” and “Charge Off Account

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Number 4888931990159852”, and in the state court matter represented the same

that their rights were on a contract “Original Account Number 488893018926028”.

Yet all of the documents produced during the discovery time period have been

related to another account “4305 5003 5345 4674” Defendants have not submitted

to   this   Court   or   produced   any   evidence    in   discovery that     account

488893018926028 contained any agreement to arbitrate.

       Likewise, Defendants have not filed with the Court any evidence that the

document they purport is a contract that includes an arbitration provision, is

actually in truth and fact the actual terms that Ms. Ford was bound by. Notably,

the Midland Defendants were asked to admit that Exhibit A, the document attached

to its state court complaint, was a true and correct copy of the contractual terms

that governed the subject account in December 2006 and; they responded by

stating “Midland can neither admit nor deny the request” further stating “it is

Midland’s understanding, that Plaintiff was bound by the terms and conditions[.]”

(Exhibit E). Stillman further refused Plaintiff’s counsel request to inspect

Stillman’s file of the documents that Midland Funding sent Stillman in support of

the state court complaint and which Stillman’s employee Nina Prashad,

conveniently could not remember during her deposition. Attaching any document

is not sufficient evidence to support a motion to compel arbitration as “‘[i]t is a

basic tenet of contract law that a party can only advance a claim of breach of



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written contract by identifying and presenting the actual terms of the contract

allegedly breached.’” Bazemore v. Jefferson Capital Sys., LLC., 827 F.3d 1325,

1131-32 (11th Cir. 2016) (quoting Harris v. Am. Postal Workers Union, 198 F.3d

245 (6th Cir.1999)).

      Defendants further have not submitted a complete chain of title that Midland

is the legal owner of the “Original Account Number             488893018926028” and

“Charge Off Account Number 4888931990159852”. The Bill of Sale submitted

to this Court, by Stillman, show on, “June 24, 2008, FIA Card Services, N.A., sold,

transferred, assigned, sets-over, quitclaimed and conveyed the subject debt to

Cavalry SPV 1, LLC, without recourse and without representations or warranties

of any type, kind, character or nature, express or implied, subject to the Buyer’s

repurchase rights . . . .” (Exhibit H) Yet none of the Defendants have presented any

evidence that the “Original Account Number           488893018926028” and “Charge

Off Account Number        4888931990159852” was ever repurchased or legal title

obtained again by Bank of America from Cavalry SPV 1, LLC, before it was

purportedly sold to Midland Funding. Therefore, Defendants have not meet their

burden that Midland Funding has a contractual right to enforcement of anything,

let alone the right to compel arbitration.

      Finally the 1999 agreement submitted to this Court permits the arbitration to

be submitted to the AAA, and the 2008 agreement was not sent to Plaintiff.



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Midland due to its own misconduct has been barred by the AAA to proceed in

arbitration before it and therefore cannot proceed under the 1999 agreement.

II.     Defendants have Waived Any Right to Arbitration, if Such a Right
        Existed

        Given Midland’s corporate structure and that Stillman was acting as its agent

in the state court matter, under agency principals, the waiver of one is the waiver of

all. See Tracinda Corp. v. DaimlerChrysler AG, 502 F.3d 212, 225 (3rd Cir. 2007)

(addressing the enforceability of a contractual jury waiver, holding that when such

a provision “applies to a signatory corporation, [it] also applies to nonsignatory

directors and officers seeking to invoke the waiver as agents of the corporation.”)

c.f. Int'l Paper Co. v. Schwabedissen Maschinen & Anlagen GMBH, 206 F.3d 411,

416 (4th Cir. 2000) (“in an appropriate case a nonsignatory can enforce, or be

bound by, an arbitration provision within a contract executed by other parties.”);

c.f. Janetos v. Fulton Friedman & Gullace, LLP, 825 F.3d 317, 325 (7th Cir. 2016)

(“A debt collector should not be able to avoid liability for unlawful debt collection

practices simply by contracting with another company to do what the law does not

allow it to do itself.”) Whether a waiver of an arbitration provision has occurred is

a mixed question of law and fact. Sweebe v. Sweebe, 474 Mich. 151, 154; 712

N.W.2d 708 (Mich. 2006).

        A.    Defendants Litigated in State Court the Same Core Issue,
              Whether the Debt was Time Barred, and Therefore have Waived
              Their Right to Compel Plaintiff to Arbitrate the Issue Whether

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             the Debt is Time Barred

       In the state court matter, Midland Funding, through its agent attorney

Stillman, engaged in litigation with Plaintiff over the disputed issue of whether the

debt that Midland Funding sued Plaintiff on was barred by the statute of

limitations. Defendants choose to litigate that disputed issue in state court, but

now request this Court to send that very same “dispute” to arbitration. Litigating

the dispute over whether the subject debt was time barred is inconsistent with the

purpose of arbitration. “‘[A] party may waive an agreement to arbitrate by

engaging in two courses of conduct: (1) taking actions that are completely

inconsistent with any reliance on an arbitration agreement; and (2) ‘delaying its

assertion to such an extent that the opposing party incurs actual prejudice.’’”

Johnson Assocs. Corp. v. HL Operating Corp., 680 F.3d 713, 717 (6th Cir. 2012)

(citing Hurley v. Deutsche Bank Trust Co. Ams., 610 F.3d 334, 338 (6th Cir. 2010)

(quoting O.J. Distrib., Inc. v. Hornell Brewing Co., 340 F.3d 345, 356 (6th Cir.

2003)).

       Here Defendants allowed the state court lawsuit to run its course and only

initiated a demand for arbitration over the same dispute when it was sued in federal

court. In North West Michigan v. Stroud, 185 Mich. App. 649; 462 N.W.2d 804

(Mich. App. 1990), in which the Court denied the motion to compel arbitration

stating:



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      ‘After the initial pleadings neither party took any action to invoke the
      arbitration provisions. Both parties have actively participated in the litigation
      through discovery, pretrial and mediation. . . . With the passage of time, the
      Defendant’s [sic] active participation in the litigation and the Defendant's
      [sic] failure to seek enforcement of the arbitration provision, the Court finds
      there has been a waiver of that contractual right.’

      Id. at 651 (“sics” in original)

      Defendants would have been collaterally estopped from denying in this

matter in federal court that they did not file a time barred suit against Ms. Ford

thereby conclusively establishing that Defendants violated the FDCPA.                See

Parklane Hosiery Co. v. Shore, 439 U.S. 322, 326 (1979) (citing Blonder-Tongue

Laboratories, Inc. v. University of Illinois Foundation, 402 U.S. 313, 328-329

(1971)) (“Collateral estoppel, like the related doctrine of res judicata, has the dual

purpose of protecting litigants from the burden of relitigating an identical issue

with the same party or his privy and of promoting judicial economy by preventing

needless litigation.”); see also Harvey v. Great Seneca Fin. Corp., 453 F.3d 324,

333 (6th Cir. 2006) (quoting Shorty v. Capital One Bank, 90 F. Supp. 2d 1330,

1331 (D.N.M. 2000)) (“a number of the cases holding that the filing of a time-

barred claim is a deceptive practice under the FDCPA rely on 15 U.S.C. §

1692e(2), which prohibits ‘the false representation of . . . the character, amount, or

legal status of any debt.’”)

      B.     As the Statute of Limitations has Run on the Alleged Debt, so to
             has the Time in Which Electing Arbitration has Run



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      Defendants are not entitled to arbitrate this matter because too much time

has elapsed since the alleged breach of the account initially occurred.

“Customarily, if a consumer loan has been delinquent for more than 180 days, the

originating lender charges off the loan (including interest and any other charges) in

its books.” Debt Buyers' Ass'n v. Snow, 481 F. Supp. 2d 1, 4 (D.D.C. Jan. 30,

2006).

      There is general agreement that a demand for arbitration must be made
      within a reasonable time and may be denied if any equitable defense is
      applicable. 5 Am Jur 2d, Arbitration and Award, Cum Supp, § 21, p 42. This
      Court is persuaded that more than six years delay, equivalent to the statute of
      limitations in this case, was too long under the circumstances.
      ***
      ‘It is well settled that a party’s contractual right to arbitration may be lost
      through his conduct, and delay in asserting a contractual right to arbitration
      is only one of several types of conduct which have been recognized as
      resulting in such loss’. (Emphasis supplied.)

      Buckley v. Small, 52 Mich. App. 454, 456; 217 N.W.2d 422 (Mich. App.

1974) (quoting 25 ALR 3d 1171 § 2(a), p. 1176). Here not only has the statute of

limitations run on the underlying contract, as demonstrated by the last December

2006 statement; on December 2, 2008, Defendant Midland Credit Management

apparently sent Plaintiff a letter titled “PRE-LEGAL NOTIFICATION” and yet

the Midland Defendants did nothing to attempt to initiate arbitration until it was

sued on a class basis in this case. As such, since Defendants’ arbitration demand

has been made well pass the statute of limitations available to the underlying

alleged contract, their ability to invoke arbitration has therefore been waived by

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this lapse of time.

      C.     Wavier of Arbitration can be Inferred from a Debt Buyer’s
             Purchase Agreement Related to the Subject Debt

      Defendants although requested, have not produced the purchase agreements

under which Midland Funding purportedly purchased the debt under. If Midland is

in breach of the contract it obtained its rights under, it should not be permitted to

enforce those very same rights.

      [Typically a] Purchase Agreement provides that the sellers agree to ‘sell,
      convey, transfer and assign to Purchaser and Purchaser agrees to purchase
      from Seller...all right, title, and interest of Seller in and to Purchased
      Accounts and Purchased Receivables.’ The [] Purchase Agreement contains
      an exhibit listing [the debtor’s] account as one covered by the [] Purchase
      Agreement. The [] Purchase Agreement is binding on the parties and their
      ‘respective successors and permitted assigns.’

      Cox v. CA Holding, Inc., 1:13-cv-01754-JMS-TAB, 2015 U.S. Dist. LEXIS

17820 * 8 (S.D. Ind. Feb. 15, 2015) (internal citations omitted).

      In re: Cognate Cases, 1:13-CV-1338,1:14-CV-34,1:14-CV-234, 2014 U.S.

Dist. LEXIS 89159 (W.D. Mich. June 30, 2014), the court in denying a motion to

compel arbitration noted as a factor supporting the waiver of an arbitration clause

was that, “when the debt buyer purchased the charged off accounts from [the

original creditor], cardmember terms, arbitration agreements and even the prospect

of active litigation were not important to the debt buyers. At least that is the story

the relevant Purchase Agreements tell. The debt buyers expressly warrant to [the

original creditor] that their ‘primary purpose . . . is not to commence an action or

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proceeding against c[]ardholders.’” Id. at * 7. Here, the Midland Funding’s have

objected to producing its purchase agreement of the subject debt, and therefore has

not submitted sufficient evidence to demonstrate that they did not provide a similar

assurance that was given to the seller in In re: Cognate Cases. Plaintiff requests

this Court to draw an adverse inference that Midland Funding’s purchase

agreement contained the same primary purpose language as was found in In re:

Cognate Cases. See Henderson v. Walled Lake Consol. Sch., 469 F.3d 479, 495

(6th Cir. 2006) (noting that it is permissible for the finder of fact to “draw an

adverse inference” regarding “nonproduced evidence in one party’s control”).

III.     If Arbitration is Compelled, The Litigation in to be Stayed not
         Dismissed

         The Supreme Court on multiple occasions has stated that 9 U.S.C. § 3

mandates a stay once arbitration is compelled. In Prima Point Corp. v. Flood &

Conklin Mfg. Co., 388 U.S. 395, 404, 87 S. Ct. 1801 (1967), the Court held that

motions to compel arbitration under FAA § 2, which Defendants here moved

under, “requires a federal court in which suit has been brought ‘upon any issue

referable to arbitration under an agreement in writing for such arbitration’ to stay

the court action pending arbitration once it is satisfied that the issue is arbitrable

under the agreement.” Prima Point Corp., 388 U.S. at 400 (citing 9 U.S.C. § 3)

(emphasis added).

         After Prima Point Corp., Supreme Court’s mandate for a district court to

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stay a proceeding under FAA § 3, when compelling arbitration under FAA § 4, is

consistant over the decades. Shearson/American Express v. McMahon, 482 U.S.

220, 226 (1987) (emphasis added) (“The Act also provides that a court must stay

its proceedings if it is satisfied that an issue before it is arbitrable under the

agreement, § 3; and it authorizes a federal district court to issue an order

compelling arbitration if there has been a ‘failure, neglect, or refusal’ to comply

with the arbitration agreement, § 4.”); Rent-A-Center, W., Inc. v. Jackson, 561 U.S.

63, 70 (2011) (“[F]ederal courts can enforce the agreement by staying federal

litigation under § 3 and compelling arbitration under § 4.”) Rent-A-Center, W.,

Inc. v. Jackson, 561 U.S. 63, 70 (2011). See also id. at 77 (Stevens, J.) (dissenting)

(“The FAA, therefore, envisions a limited role for courts asked to stay litigation

and refer disputes to arbitration.”) The Sixth Circuit cases of Arnold and Ozormoor

cited by Defendants are factually distinguishable, notably in Arnold the parties

agreed to a dismissal, and do not override the mandatory stay language.

      In Facilities v. Nichols, 811 F.3d 192, 195 (6th Cir. 2016), the Sixth Circuit

recently affirmed the stay of the case before the district court pending the

conclusion of arbitration, noting that 9 U.S.C. § 3 “provid[es] for a stay of federal

lawsuit involving issues subject to an arbitration agreement.” Id. at 195 (citing 9

U.S.C. § 3). In Burden v. Check Into Cash of Ky., LLC, 267 F.3d 483 (6th Cir.

2001), this Court noted that, “under section 3 of the FAA, when an action is



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brought in federal court ‘upon any issue referable to arbitration under agreement in

writing for such arbitration,’ the court must ‘stay the . . . action pending arbitration

once it is satisfied that the issue is arbitrable under the agreement.’” Id. at 487

(citing Prima Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S. 395, 18 L. Ed. 2d

1270, 87 S. Ct. 1801 (1967)).

      In Fazio v. Lehman Bros., Inc., 340 F.3d 386, 392 (6th Cir. 2003), the Court

stated:

      The Federal Arbitration Act (‘FAA’) provides that arbitration clauses in
      commercial contracts ‘shall be valid, irrevocable, and enforceable, save
      upon such grounds as exist at law or in equity for the revocation of any
      contract.’ 9 U.S.C. § 2. If a court determines that the cause of action is
      covered by an arbitration clause, it must stay the proceedings until the
      arbitration process is complete. 9 U.S.C. § 3.

      Fazio, 340 F.3d at 392 (citing 9 U.S.C. § 3) (emphasis added); Highlands

Wellmont Health Network v. John Deere Health Plan, 350 F.3d 568, 573 (6th Cir.

2003) (citing 9 U.S.C. § 3) (“If a court determines that a claim is covered by an

arbitration clause, it must stay the proceedings until the arbitration process is

complete.”); Yaroma v. CashCall, Inc., 130 F. Supp. 3d 1055, 1060-61 (E.D. Ky.

2015) (quoting Fazio, 340 at 392) (“If the court determines that the dispute ‘is

referable to arbitration’ under an agreement to arbitrate, the court must stay all

further proceedings in the case ‘until the arbitration process is complete.’”)

      District courts within this Circuit have correctly issued a stay of the case

pending the resolution of the arbitration. Law Offices of Daniel C. Flint, P.C. v.

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Bank of Am., N.A., 2016 U.S. Dist. LEXIS 140452 * 1 (E.D. Mich. Oct. 11, 2016)

(citing Doc. # 18); Hope Christian Fellowship v. Chesapeake Energy Corp., 2016

U.S. Dist. LEXIS 135737 * 28-29 (N.D. Ohio Sept. 29, 2016) (quoting Arthur

Andersen LLP v. Carlisle, 556 U.S. 624, 625, 129 S. Ct. 1896, 173 L. Ed. 2d 832

(2009)) (emphasis in quotation added by the court) (“Section 3 of the [FAA]

entitles litigants in federal court to a stay of any action that is ‘referable to

arbitration under an agreement in writing.’”); Sangkharat v. Reynolds & Assoc.,

P.C., 2016 U.S. Dist. LEXIS 119761 * 6 (E.D. Mich. Sept. 6, 2016) (citing 9

U.S.C. § 3) (emphasis added) (“When presented with an issue that is referable to

arbitration pursuant to a valid arbitration agreement, the court, upon the application

of either party, must stay the suit and compel arbitration.”); Drozdowski v.

Citibank, Inc., 2016 U.S. Dist. LEXIS 117015 * 26-27 (W.D. Tenn. Aug. 31,

2016).

      Courts in every district within the Sixth Circuit have over the past three

decades followed the plain “shall stay” language in 9 U.S.C. § 3. Investors Equity

Group, Inc. v. Dean Witter Reynolds, Inc., 1988 U.S. Dist. LEXIS 18138 * 12

(W.D. Mich. Apr. 11, 1988) (“Under § 3 of the Arbitration Act, the Court must

stay proceedings on claims which it has determined to be arbitrable. 9 U.S.C. § 3.

Whether non-arbitrable claims should be stayed pending arbitration is a matter left

to the Court's discretion.”); Third Natl Bank v. Wedge Group, Inc., 749 F. Supp.



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851, 853 (M.D. Tenn. 1990) (“Thus, upon the motion of a party, a district court

must stay an action pending arbitration if the issue at bar is referable to arbitration

under a written arbitration agreement. 9 U.S.C. § 3.”); Newton v. Snap-On Tools

Corp., 783 F. Supp. 1019, 1021 (E.D. Ky. 1991) (“Section 3 clearly and

unequivocally states that whenever there is an issue that is subject to arbitration, if

one of the parties timely requests arbitration, the district court must stay the action

and refer the issue to arbitration.”); Wedding v. University of Toledo, 884 F. Supp.

253, 256 (N.D. Ohio 1995) (citing Al-Haddad Bros. Enterprises, Inc. v. M. S.

Agapi, 551 F. Supp. 956, 958 (D. Del. 1982)) (“A court must stay proceedings and

compel the arbitration if, by the terms of the contract, the issues are arbitrable, and

the party moving for arbitration is not in default.”); Dillard v. Signature

Healthcare Fentress Cnty., 2015 U.S. Dist. LEXIS 121436 * 21, 2015 WL

5320544 (M.D. Tenn. Sept. 11, 2015) (citing 9 U.S.C. § 3) (“Under the FAA, if a

court determines a cause of action is covered by an arbitration agreement, it must

stay the proceedings until the arbitration is completed.”); Noffsinger-Harrison v.

LP Spring City, LLC, 2013 U.S. Dist. LEXIS 16442, 2013 WL 499210 (E.D. Tenn.

Feb. 7, 2013) (same); Blakley v. UBS Fin. Servs., 2013 U.S. Dist. LEXIS 31740 *

33 (S.D. Ohio, Jan. 30, 2013) Adopted by, Motion granted by, Stay granted by

Blakley v. UBS Fin. Servs., 2013 U.S. Dist. LEXIS 31740 (S.D. Ohio, Mar. 7,

2013) (citing Glazer v. Lehman Bros., Inc., 394 F.3d 444, 451 (6th Cir. 2005) (“as



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the undersigned finds that all of plaintiff's claims are subject to the arbitration

agreement contained in the LOU or, alternatively, the FMCP, the Court must stay

plaintiff's lawsuit.”); Overlook Terraces, Ltd. v. Tamko Bldg. Prods., 2015 U.S.

Dist. LEXIS 119325, 2015 WL 9906298 (W.D. Ky. May 21, 2015) Adopted by,

Stay granted by Overlook Terraces, Ltd. v. Tamko Bldg. Prods., 2015 U.S. Dist.

LEXIS 119323 (W.D. Ky., July 22, 2015) (“Under the FAA, federal district courts

are to stay judicial proceedings when an issue must be referred to arbitration.

Walker v. Ryan's Family Steakhouses, Inc., 400 F.3d 370, 376 (6th Cir. 2005). See

gen. ATAC Corp v. Arthur Treacher's, Inc., 280 F.3d 1091, 1095 (6th Cir.

2002)(discussing the legal effect of an order staying litigation under the FAA)”).

      In Arnold v. Arnold Corp., 920 F.2d 1269 (6th Cir. 1990), relied by

Defendants, this Court examined the applicability of the 1998 amendments to the

Judicial Improvements to Access to Justice Act which amended 9 U.S.C. § 15

Appeals, currently codified at 9 U.S.C. § 16, to conclude that the Court had

jurisdiction over the appeal. Id. 1273-74 (“The issue before this court is thus

whether the district court’s order of clarification constitutes a final judgment or

interlocutory order.”) In Arnold, the applicability and meaning of the “shall stay”

language in 9 U.S.C. § 3 was not at issue, the sole issue was this Court’s

jurisdiction under 9 U.S.C. § 15.

      Green v. Ameritech Corp., 200 F.3d 967 (6th Cir. 2000), did not establish



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that under 9 U.S.C. § 3 that district courts had the ability to simply dismiss a case

pursuant to the parties agreement, rather than follow the sections mandatory stay

language. Id. at 970.   In Green, the Court found that under the parties’ contract,

that the contract itself provided for diversity jurisdiction to hear an appeal of the

arbitrator’s award, even though a new case should have been opened due to the

dismissal, and reversed and remanded for reinstatement the arbitrator’s award

finding that “although the arbitrator’s opinion was minimal, it was nevertheless

adequate.” Id.

        It is especially important to stay this matter as there is no guarantee that

Midland will actually pay the costs associated with arbitration, and the American

Arbitration Association (“AAA”) will not “administer this claim and any other

claims between Midland Funding, LLC and its consumers” as “the business failed

to comply with the AAA’s policies regarding consumer claims.” (Exhibit D).

        Also, because Midland is asserting its right to arbitrate under an FIA Card

Services, Inc., credit card, whether or not there is the ability to arbitrate such

matters after the settlement in Ross v. Bank of America, N.A., MDL No. 1409, Civ.

No. 07-7116 (S.D.N.Y. 2010), is a threshold issue for the arbitrator to decide.

Snyder v. Cach, LLC, 2016 U.S. Dist. LEXIS 158996 (D. Hawaii Nov. 16, 2016).

IV.     If the Court has No Subject Matter Jurisdiction it cannot Dismiss the
        Class Claims

        The Defendants ask this Court to find that no subject matter jurisdiction

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exists, but at the same time seeks an Order dismissing the class claims. Even

Defendants point out that, “[t]he arbitration provision in the Agreement expressly

states that ‘any claim, dispute or controversy’ shall be decided by arbitration

‘including this Arbitration clause” and that ‘gateway’ questions of ‘arbitrability’

were issues for the arbitrator to decide[.]” (Pg ID 171-72). Thus if the Court has

no jurisdiction other than compelling arbitration, it should leave the question to

whether the matter can continue as a class to the arbitrator.

                                  CONCLUSION

      WHEREFORE, the reasons stated above, Plaintiff requests this Honorable

Court to deny Defendants’ motion to compel arbitration, and if however the Court

compels arbitration, to stay this matter without dismissing the class allegations.

                               Respectfully submitted,

Dated: January 6, 2017                               /s/ Curtis C. Warner

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                          CERTIFICATE OF SERVICE

      I hereby certify that on January 6, 2017, I served the foregoing document

with the Clerk of the Court using the ECF system which will automatically send

notification of such filing to the following:

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